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Case 3:19-mc-00027-BJD-JRK Document 1-1 Filed 11/19/19 Page 1 of 43 PagelD 7

GOVERNMENT’S EXHIBIT 1
 

DISTRICT OF COLUMBIA, ss:

DECLARATION OF VIRGINIA P. PRUGH

I, Virginia P. Prugh, declare and say as follows:

1. Iam an Attorney Adviser in the Office of the Legal Adviser for the Department of
State, Washington, D.C. This office has responsibility for extradition requests, and I am charged
with the extradition case of Alexsandr Rotko. I make the following statements based upon my
personal knowledge and upon information made available to me in the performance of my |
official duties. |

2. The relevant and applicable treaty provisions in full force and effect between the United
States and Estonia are found in the Extradition Treaty between the Government of the United
States of America and the Government of the Republic of Estonia, signed on February 8, 2006
(the “Extradition Treaty”). A copy of the Extradition Treaty is attached to this declaration.

3. In accordance with the provisions of the Extradition Treaty, the Embassy of Estonia has
submitted Diplomatic Note 6-2/25, dated April 9, 2013, Grnally requesting the extradition of
Alexsandr Rotko. The Ministry of Justice of Estonia submitted additional information relating to
this request to the United States Department of Justice by letters dated June 4, 2014 and
December 22, 2017. Copies of the diplomatic note and letters are attached to this declaration.

4, In accordance with Article 19 of the Extradition Treaty, the United States represents the
interests of Estonia in proceedings in U.S. courts arising out of extradition requests made by
Estonia, and Estonia provides similar sepresontation in its courts for extradition requests made by
the United States.

5. The offenses for which extradition is sought are covered by Article 2 of the Extradition

Treaty.

EXT-ROTKO-000001

 

 
 

 

  
  
   
   
 
   
  

Issued pu
Sept. 15, °
USC 265:

 

By

DEPARTMENT OF STATE

To all to whom these presents shall come, Greetings:

That Virginia P. Prugh, whose name is subscribed to the document hereunto annexed, was
if subscribing the same Attorney Adviser, Office of the Legal Adviser, Department of
' States of America, and that full faith and credit are due to her acts as such.

This certificate is not valid if it is removed or altered in any way whatsoever

In testimony whereof, I, Michael R. Pompeo, Secretary of State ,
have hereunto caused the seal of the Department of State to be
affixed and my name subscribed by the Assistant Authentication
Officer, of the said Department, at the city of Washington, in the
District of Columbia, this ninth day of August, 2019.

ile KO

Secrf iptary of State

 

EXT-ROTKO-000002

 

Assistant Authentication Officer,
Department of State

 

 

 

 

 

 
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In accordance with Article 9 of the Extradition Treaty, documents that bear the
ic or seal of the Ministry or Department of Justice, or the Ministry or Department
nonsible for foreign affairs, of the Requesting State are admissible in extradition proceedings
ithout further certification, authentication, or other legalization. Therefore, such documents
satisfy the anihenteatin requirements without the need for certification by the U.S. Embassy in
Tallinn. Estonia, in submitting documents in the instant case that bear the certificate or seal of
the Ministry of Justice, has complied with the Extradition Treaty requirements with respect to
4 hentieation,

I declare under the penalty of perjury that the foregoing is true and correct to the best of
my knowledge.

7H
Executed on July od , 2019,

 

Attachments:
1. Copies of Note and Letters
2. Copy of Extradition Treaty

EXT-ROTKO-000003

 

 
 

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* No. 6-2/25 ve r “
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% - . ! ee oe
The Enibassy of the Republic of Estonia presents its compliments to the Department of hlistice of the
~ United States of America and | forwards the extradition request coming from the Ministry of. Justice of gu
the Republic of Estonia based on the extention treaty between the Government of Estonia and the,
. oreraeAl of the United States of America, signed on’ February 8, “20 12, The Government "of .
Estonia requests the extradition of Estonian citizen Mr-Alexandr Rotko, born February 27, 1949 for, 4

 

 

"the continuation of criminal proceedings in the criminal case No 06730000427. - _ i Fy f;
, . 2 - . 28 #, so
The Embassy off the Republic of Estonia avails itself of this opportunity to renew to the Department
of J ustice of the Unites States of America the assurances of its highest considerations. =. & .
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Départment of Justice -

Your ref.
Criminal Division : 04.06.2014  Ourref. 12-1/14-4837-2 © i
Office of International Affairs . . t
1301 New York Ave, NW Sth floor * op
Washington D.C. 20530 ‘
U.S.A.

Re: Extradition of Aleksandr Rotko

——iinistry of Justice of Estonia hereby presents the original of the corifirmation of Estonian Police and
Border Guard Board National Criminal Police. ,

Yours sincerely

 

Astrid Laurendt-Hanioja . |
Head of International Judicia| Go-operation Unit’
“. ‘ *

 

 

 

 

 

 

 

 

 

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REPUBLIC OF ESTONIA Seconiets estoy neaes - Noten (ane Ore 22.12 it.
estiction on ss 4

MINISTRY OF JUSTICE @ ao ieee

Basis: AvTS § 351g 1p 1,AvTS § 35 ig 1p3
° ; Holder of information: Ministry of Justice

Depariment of Justice 22.12.2017 Ourref. 12-1/8926-2

Criminal Division

Office of International Affairs

1301 New York Ave, NW Sth floor
_ Washington D.C. 20530

U.S.A.

Re: Extradition of Aleksandr Rotko

. Ministry of Justice of Estonia hereby presents additional Information in the extradition case of ©
Aleksandr Rotko. .

Yours sincerely

 
 
 

Astrid Laurendt-Hanioja —
Head of International Judicial

Enclosures.

Dy dita
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” Ministry of Justice/ Suur-Ameéerika 1 / 10122 Tallinn / ESTONIA +372 620 8100 /fax #372 620 8109/

info@Jjust.ee / www.just.ee se a
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SENATE

109-16

109TH CONGRESS
2d Session

| TREATY Doc.

 

 

 

EXTRADITION TREATY WITH ESTONIA -

MESSAGE

FROM

THE PRESIDENT OF THE UNITED STATES

TRANSMITTING

EXTRADITION TREATY BETWEEN THE UNITED STATES OF AMER-
ICA AND THE GOVERNMENT OF THE REPUBLIC OF ESTONIA,
SIGNED ON FEBRUARY 8, 2006, AT TALLINN,

 

SEPTEMBER 29, 2006.—Treaty was read the first time, and together with
the accompanying papers, referred to the Committee on Foreign Rela-
tions and.ordered to be printed for the use of the Senate

U.S. GOVERNMENT PRINTING OFFICE
49-118 WASHINGTON’ : 2006

of 43 Pageltb-+4——__,

 

 

EXT-ROTKO-000007

 

 
 

 

LETTER OF TRANSMITTAL

THE WHITE Houses, September 29, 2006.

To the Senate of the United States:

With a view to receiving the advice and consent of the Senate to
ratification, I transmit herewith the Extradition Treaty between
the United States of America and the Government of the Republic
of Estonia, signed on February 8, 2006, at Tallinn. I also transmit,
for the information of the Senate, the report of the Department of
State with respect to the treaty.

The new extradition treaty with Estonia would replace the out-
dated extradition treaty between the United States and Estonia,
signed on November 8, 1923, at Tallinn, and the Supplementary
Extradition Treaty, signed on October 10, 1934, at Washington.
The treaty also fulfills the requirement for a bilateral instrument .
between the United States and each European Union (EU) Member
State in order to implement the Extradition Agreement between
the United States and the EU. Two other comprehensive new ex-
tradition treaties with EU Member States—Latvia and Malta—
likewise also serve as the requisite bilateral instruments pursuant
to the U.S.-EU Agreement, and therefore also are being submitted —
separately and individually.

The treaty follows generally the form and content of other extra-
dition treaties recently concluded by the United States. It would re-
place an outmoded list of extraditable offenses with a modern “dual
criminality” approach, which would enable extradition for such of-
fenses as money laundering and other newer offenses not appear-
ing on the list. The treaty also contains a modernized “political of-
fense” clause. It further provides that extradition shall not be re-
fused based on the nationality of the person sought; in the past,
Estonia has declined to extradite its nationals to the United States.
Finally, the new treaty incorporates a series of procedural improve-
ments to streamline and speed the extradition process. ‘

I recommend that the Senate give early and favorable consider-

ation to the treaty. " —_—
EORGE W. Busu.

(TI)

EXT-ROTKO-000008

 

 
 

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LETTER OF SUBMITTAL

DEPARTMENT OF STATE,
Washington, August 3, 2006.

' The PRESIDENT,

The White House.

THE PRESIDENT: I have the honor to submit to you the Extra-
dition Treaty between the United States and Estonia, signed on
February 8, 2006. Upon its entry into force, the Treaty would re-
place the outdated Extradition Treaty between the United States
and Estonia, signed on November 8, 1923, and the Supplementary
Extradition Treaty, signed on October 10, 1934. It also fulfills the
requirement for a bilateral instrument between the United States
and each member state of the European Union implementing the
Extradition Agreement between the United States and the Euro-
pean Union signed on June 25, 2003, which is being separately
submitted. A detailed, article-by-article analysis is enclosed with

this report. I recommend that the Treaty be transmitted to the —

Senate for its advice and consent to ratification. The Treaty is self-

executing and will not require implementing legislation.
Respectfully submitted.
CONDOLEEZZA RICE.

Enclosures: As stated.
U.S.-ESTONIA EXTRADITION TREATY
OVERVIEW
The U,S.-Estonia Extradition Treaty replaces an outdated 1923

Treaty and 1934 Supplementary Treaty. It also serves to imple-.
. ment between the United States and Estonia the provisions of the

U.S.-EU Extradition Agreement.

The following is an Article-by-Article description of the provisions
of the Treaty.

Article 1 obligates each Party to extradite to the other, pursuant
to the provisions of the Treaty, persons whom the authorities in the
Requesting State have charged with or convicted of an extraditable
offense.

Article 2 concerns extraditable offenses and is taken from Article
4 of the U.S.-EU Extradition Agreement. Article 2(1) defines an of-
fense as extraditable if the conduct on which the offense is based
is punishable under the laws in both States by deprivation of lib-
erty for a period of more than one year or by a more severe pen-
alty. Use of a pure “dual criminality” clause, rather than categories
of offenses listed in the 1923 Treaty, obviates the need to renego-

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aiding, abetting, counseling or procuring the commission of an of-
fense, as well as being an accessory to an offense, under the broad
description of participation.

Additional flexibility is provided by Article 2(3), which provides

interstate transportation, or use of the mails or of other facilities
affecting interstate or foreign commerce, such matters being juris-

dictional only; or c) in criminal cases relating to taxes, customs du-:

ties, currency control or commodities. ; :
With regard to offenses ‘committed outside the territory of the
Requesting State, Article 2(4) provides that extradition shall be

fied in the request if the latter offense is punishable by one year’s
deprivation of liberty or less, provided that all other requirements
for extradition are met. .

Article 3 provides that extradition shall not be refused based on
the nationality of the person sought.

Article 4 sets forth bases for the denial of extradition. As is cus-
tomary in extradition treaties, paragraph I provides that extra-

dition shall not be granted if the offense for which extradition is.

requested constitutes a political offense.

Article 4(2) specifies six categories of offenses that shall not be
considered to be political offenses: (a) a murder or other violent
crime against a Head of State of one of the Parties, or of a member
of the Head of State’s family: (b) an offense for which both Parties

have the obligation pursuant to a multilateral International agree-

‘Manslaughter, malicious wounding, or inflicting grievous bodily
harm; (d) an offense involving kidnapping, abduction, or any form
of unlawful detention, including the taki g§ of a hostage; (e) placing
or using an explosive, incendiary, or destructive device capable of
endangering life, of causing substantial bodily harm, or of causing

sion of such offenses, |
Article 4(3) Provides that extradition shall not be granted if the
executive authority of the Requested State determines that the re-
quest was politically motivated.
icle 4(4) provides that offenses under military law that are
not offenses under ordinary criminal law (e.g., desertion) are ex-

cluded from the Scope of the Treaty.

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Article 5(1) provides that extradition shall not be granted when
the person sought has been convicted or acquitted in the Requested
State for the offense for which extradition is requested. Article 5(2)
provides that extradition shall not be precluded by the fact that the
competent authorities of the Requested State: (a) have decided not
to prosecute the person sought for the acts for which extradition is
requested; (b) have decided to discontinue any criminal proceedings
which have been instituted against the person sought for those
acts; or (c) have decided to investigate the person sought for the
same acts.
Article 6 provides that extradition shall not be granted when the
prosecution or the enforcement of the penalty for the offense for
which extradition has been sought has become barred by lapse of
time according to the law of the Requesting State.
Article 7 concerns capital punishment, and is taken from Article
18 of the U.S.-EU Extradition Agreement. When an offense for
which exadition is sought is punishable by death under the laws
in the Requesting State but not under the laws in the Requested
State, the Requested State may grant extradition on the condition
that the death penalty shall not be imposed on the person sought, .
or if for procedural reasons such condition cannot be complied with
by the Requesting State, on condition that the death penalty if im-
posed shall not be carried out. If the Requesting State accepts ex-
tradition subject to conditions pursuant to this Article, it shall com-
ply with the conditions. If the Requesting State does not accept the
conditions, the request for extradition may be denied.
Article 8 establishes the procedures and describes the documents
that are required to support a request for extradition. Paragraph
1, which is taken from Article 5(1) of the U.S.-EU Extradition
Agreement, provides that all requests for extradition must be sub-
‘mitted through the diplomatic channel, which shall include trans-
mission under Article 11(4). Among other requirements, Article 8(3)
provides that a request for the extradition of a person sought for
prosecution must be supported by: (a) a copy of the warrant or
order of arrest issued by a judge, court, or other competent author-
ity; (b) a copy of the charging document; and (c) such information
as would provide a reasonable basis to believe that the person
sought committed the offense for which extradition is sought.
Pursuant to Article 8(4), a request for extradition of a person
who has been convicted in absentia must be supported by the docu-
ments required in a request for a person who is sought for prosecu-
tion.
Article 8(5), which is taken from Article 8 of the U.S.-EU Extra-
dition Agreement, authorizes the furnishing of additional informa-
tion, if the Requested State deems it necessary to support an extra-
dition request, and specifies that such information may be re-
quested and supplied directly between the United States Depart-
ment of Justice and the Ministry of Justice of the Republic of Esto-
nia. Article 8(6), which is taken from Article 14 of the U.S.-EU Ex-
tradition Agreement, addresses the submission. of sensitive infor-
mation in extradition requests.

Article 9, which is taken from Article 5 of the U.S.-EU Extra-
dition Agreement, concerns admissibility of documents. It provides
that documents bearing the certificate or seal of either the Ministry

 

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of Justice or foreign affairs Ministry or Department of the Request-
ing State shall be admissible in extradition proceedings in the Re-
quested State without further certification.

Article 10 provides that all documents submitted under the Trea-
ty by the Requesting State shall be translated into the language of
the Requested State.

Article 11 sets forth procedures and describes the information
that is required for the provisional arrest and detention of the per-
son sought, in an urgent situation, pending presentation of the for-

’ mal request for extradition. Paragraph 1, which sets forth proce-
dures for transmission of a request for provisional arrest, is taken
from Article 7 of the U.S.-EU Extradition Agreement. Article 11(4)
provides that if the Requested State’s executive authority has not
received the request for extradition and supporting documents
within sixty days from the date of provisional arrest, the person
may be discharged from custody. Paragraph 4 also provides an al-
ternative channel for receipt of extradition requests with respect to
persons who have been provisionally arrested, taken from Article
6 of the U.S.-EU Extradition Agreement. Article 11(5) explicitly
provides that the discharge: of a person from custody pursuant to
Article 11(4) does not prejudice the person’s subsequent rearrest
and extradition if the extradition request and supporting docu-
ments are delivered at a later date.

Article 12 specifies the procedures governing a decision on the. .
extradition request and the surrender of the person sought. It re-
quires the Requested State to promptly notify the Requesting State
of its decision regarding a request. If the request is denied in whole
or in part, the Requested State must provide an explanation for the
denial and, upon request, copies of pertinent judicial decisions. If
extradition is granted, the States shall agree on the time and place
for the surrender of the person sought. If the person sought is not
removed from the territory of the Requested State within the time
period prescribed by the law of that State, the person may be dis-
charged from custody, and the Requested State, in its discretion,
may subsequently refuse extradition for the same offense(s).

Article 13 addresses temporary and deferred surrender. Para-
graph 1, on temporary surrender, is taken from Article 9 of the
U.S.-EU Extradition Agreement. It provides that if a person whose
extradition is sought is being proceeded against or is serving a sen-
tence in the Requested State, the Requested State may temporarily
surrender the person to the Requesting State for the purpose of
prosecution. The Requesting State shall keep the person so surren-
dered in custody and shall return that person to the Requested
State after the conclusion of the proceedings against that person,
in accordance with conditions to be determined by mutual agree-
ment of the States.

Paragraph 2, on deferred surrender, provides that the Requested
State may postpone the extradition proceedings against a person
who is being prosecuted or who is serving a sentence in that state.

Article 14, which is taken from Article 10 of the U.S.-EU Extra-
dition Agreement, provides a non-exclusive list of factors to be con-
sidered by the executive authority of the Requested State in deter-
mining to which State to surrender a person whose extradition is
sought by more than one State. It includes, in paragraph 2, lan-

 

EXT-ROTKO-000012

 
guage establishing the applicability of this analysis to competing
requests from the United States and from a member state of the
European Union made to Estonia under the European Arrest War-
rant.

Article 15 provides that the Requested State may, to the extent
permitted under its law, seize and surrender to the Requesting
State -all items, including articles, documents, and evidence, that
are connected with the offense in respect of which extradition is
granted. Such items may be surrendered even if the extradition
cannot be effected due to the death, disappearance, or escape of the
person sought, and prior to the extradition, if requested pursuant
to the mutual legal assistance treaty between the parties. The Re-
quested State may condition the surrender of the items upon satis-
factory assurances from the Requesting State that the property will
be returned to the Requested State as soon as practicable. The Re-
quested State may also defer the surrender of such items if they
are needed as evidence in the Requested State. The rights of third

arties in such items are to be respected in accordance with the
aws of the Requested State.

Article 16 sets forth the rule of speciality under -international
law. Paragraph 1 provides, subject to specific exceptions set forth
in paragraph 3, that a person extradited under the Treaty may not
be detained, tried, or punished in the Requesting State except for:
(a) any offense for which extradition was granted, or a differently
denominated offense based on the same facts as the offense for
which extradition was granted, provided such offense is extra-
ditable, or is a lesser included offense; (b) any offense committed
after the extradition of the person; or (c) any offense for which the
executive authority of the Requested State waives the rule of spe-
ciality and thereby consents to the person’s detention, trial, or pun-
ishment.

Article 16(2) provides that a person extradited under the Treaty
may not be the subject of onward extradition to a third State or
an international tribunal for any offense committed prior to the ex-
tradition to the Requesting State unless the Requested State con-
sents. ;

Under Article 16(3), these restrictions: shall not prevent the de-
tention, trial, or punishment of an extradited person, or the extra-
dition of a person to a third State, if the extradited person leaves
the territory of the Requesting State after extradition and volun-
tarily returns to it or fails to leave the territory of the Requesting
State within ten days of being free to do so.

Article 17 permits surrender as expeditiously as possible if the
person sought consents to be surrendered to the Requesting State.

Article 18, which is taken from Article 12 of the U.S.-EU Extra-
dition Agreement, governs the transit through the territory of one
State of a person surrendered to the other State by a third country.

Article 19 contains provisions on representation and expenses.
Specifically, the Requested State is required to advise, assist, ap-
pear in court on behalf of, and represent the interests of the Re-
questing State in any proceedings arising out of a request for extra-
dition. The Requested State also bears all expenses incurred in
that State in connection with the extradition proceedings, except
that the Requesting State pays expenses related to translation of

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extradition documents and the transportation of the person surren-
dered. Article 19(3) specifies that neither State shall make any pe-
cuniary claim against the other arising out of the arrest, detention,
examination, or surrender of persons under the Treaty.

Article 20 provides that the United States Department of Justice
and the Ministry of Justice of the Republic of Estonia may consult
in connection with the processing of individual cases and in fur-
therance of efficient implementation of the Treaty. i

Article 21 makes the Treaty applicable to offenses committed be- ,
fore as well as on or after the date it enters into force.

Article 22 contains final clauses dealing with the Treaty’s entry
into force and termination. It provides that the Treaty is subject to
ratification and that the Treaty shall enter into force upon the ex-
change of the instruments of ratification. Article 22(3). provides
that, upon entry into force of the Treaty, the Treaty of Extradition

  

between the United States of America and the Republic of Estonia,
signed at Tallinn on November 8, 1923, and the Supplementary Ex- |
tradition Treaty signed at Washington on October 10, 1934, shall
cease to have any effect. Hither State may terminate the Treaty
with. six months written notice to the other State.through the diplo- . M
matic channel. |

The Department of Justice joins the Department of State in fa-
voring approval of this Treaty by the Senate at the earliest possible
date.

 

 

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EXTRADITION TREATY i |

BETWEEN * il

‘THE GOVERNMENT OF THE UNITED STATES OF AMERICA |

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THE GOVERNMENT OF THE REPUBLIC OF ESTONIA secs 4 a. n . . . it
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EXT-ROTKO-000016

 
 

 

 

Article 19

Article 21

 

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Representation and

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screenees. Consultation

Application

 

Article 22

 

 

 

Ratification, Entry into
Force, and Termination

 

 

 

 

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L

 

 

 

The Government of the United States of America and the Government of the
Republic of Estonia (hereinafter referred to as "the Parties");

Recalling the Treaty of Extradition between the United States of America and |
the Republic of Estonia, signed at Tallinn on November 8, 1923, and the Supplementary
Extradition Treaty, signed at Washington on October 10, 1934; :

Noting that both the Government of the United States of America and the
Government of the Republic of Estonia currently apply the terins of that Treaty;

 

 

 

Mindful of obligations set forth in the Agreement on Extradition between the - |
United States of America and the European Union signed at Washington, D.C, on June |
25, 2003; and it

Desiring to provide for more effective cooperation between the Parties in the
fight against ctime, and, for that purpose, to conclude a new treaty for the extradition of
offenders;

 

 

Have egreed as follows:

 

 

 

 

 

 

EXT-ROTKO-000018 -

 
 

-JRK—Document 1-1—Filed-11/1.9/1
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Article’
- Obligation to Extradite

‘The Parties agree to extradite to each other, pursuant to the provisions of this
Treaty, pecsons whom the authorities in the Requesting State have charged with or
convicted of an extraditable offense. :

Article 2
Extraditable Offenses

1., An offense shall be an extraditable offense if it is punishable under the
laws in both States by deprivation of liberty for a period of more than one year or by a

+ more severe penalty.

2, An offense shell also be an extraditable offense if it consists of an
attempt or a conspiracy to corhmit, or participation in the commission of any offense
described in paragraph 1.

3: For the purposes of this Article, an offense shall be an extraditable
offense: ‘
(a) _ whether or not the laws in the Requesting and Requested States
place the offense within the same category af offenses or describe
the offense by the sanic terminology,

 

 

 

 

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(b) whether or not the offense is one for which United States federal
law requires the showing of such matters as interstate
trensportation, or use of the mails or of other facilities affecting
interstate or foreign cammiérce, such matters being merely for the
purpose of establishing jurisdiction in a United States Federal
court; and si

(c) in criminal casés relating to taxes, customs duties, currency
control and the import or export of commodities, regardless of
whether the Jaws of the Requesting and Requested States provide
for the same kinds of taxes, customs duties, or controls on
curreriey cr on the import or export of the same kinds of

cominodities.

4, Extradition shail be granted for an extraditable offense regardless of
where the act or acts constituting the offense were committed. -

 

5.- If extradition has been granted for an extraditable offense, it shall also be
granted for any other offense specified in the request even if the latter offense is
| .. punishable by one year's deprivation of liberty or less, provided that all other
requirements for extradition are met.

* Article 3
Nationality

 

Extradition shall nat be refused based on the nationality of the person sought.

 

 

 

 

 

 

 

 

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Article 4.
Political and Military Offenses
1. . Extradition shall not be grated if the offense for which extradition is
requested is a political offense. ,
2. "For the purposes of this Treaty, the following offenses shall not be
considered political offenses: _
.@ a murder ot other violent crime against Head of State of one of
the Parties, or of a member of the Head of State's family;
(b) an offense for which both Parties have the obligation pursuant to
a multilateral international agreement to extradite the person
sought or to submit the case to their competent muthorities for
* decision as to prosecution;
(© murder, manslaughter, malicious wounding, or inflicting grievous
bodily ham:
(4) an offense involving kidnapping, abduction, or any form of
unlawful detention, including the taking ofa hostage;
(e) placing or using an explosive, incendiary or destructive device
capable of endangering life, of causing substantial bodily harm,
or of causing grievous property damage; and- ,
(2) conspiracy or attempt to commit any of the foregoing offenses,
or participation in the commission of such offenses.
a; Notwithstanding the tems of paragraph 2 of this Article, extradition
° shall not’be granted if the executive euthority of the Requested State determines that the
. request was politically motivated. ,

 

4.» The executive aiithority of the Requested State may reflase extradition for
offenses under military law that are not offenses under ordinary criminal law.

 

 

 

 

 

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_ Article 5

Prior Prosecution

i Extradition shell not be granted.when the person sought has been
convicted or acquitted in the Requested State for the offense for which extradition is
requested.

2, Extradition ¢hall not be prechaded by the fact that the competent
: authorities of the Requested State have decided:
(®) _ not to prosecute the person sought for the acts for which
extradition is requested;
(®) to discontitue any criminal proceedings which have been
instituted ageinst the person sought for those acts; or
(©) to investigate the person sought for the same acts.

 

Article 6
Lapse of Time

Extradition shall not be granted when the prosecution or the enforcement of the
penalty for the offence for which extraditiori has been sought has become barred by
lapse of time according to the law of the Requesting State,

Article 7
Capital Punishment |

" Where the offeasé for which extradition is sought is punishable by death under
” the laws in the Requesting State and is not punishable by death under the laws in the
Requested State, the Requested State niay grant extradition on the condition that the
death penalty shall not be imposed on the person sought, or if for procedural reasons
such condition cannot be complied with by the Requesting State, on condition that the
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death penalty ifimposed shall not be carried out. If the Requesting State accepts
extradition subject to the condition attached pursuant to this Article, it shall comply
with the condition. [f the Requesting State does not accept the condition, the request for
extradition may be denied,

; Article 8 +
Extradition Procedures and Required Documents

1. All requests for extradition shall be submitted through the diplomatic
channel, which shall include transmission as provided for in Article 11(4).
2. All requests shall include:
(a) documents, statements, or other types of information which .
describe the identity and probable location of the person sought;
(b) information describing the facts of the offense and the procedural
history of the case; é
(c) a Statement of the relevant text of the provisions of the laws
describing the essential elements of the offense for which

 

extradition is requested;
(@) = a statement of the relevant text of the provisions of law
prescribing punishment for the offense; :
(e) a statement of the provisions of Jaw describing any time limit on
, the prosecution; and

@ ; the docuntents, statements, or other types of information specified
in paragraphs 3 or 4 of this Article, as applicable,

 

3, Arrequest for extradition of a person who is sought for prosecution also :
shall include: :
@) a copy of the warrant or order of arrest issued by a judge, court,
or other authority competent for this purpose; :
_(b) a copy of the charging document; and

 

 

 

 

 

 

 

 

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{c) - such information as would provide a reasonable basis to believe

‘that the person sought committed the offense for which
extradition is sought.
4. A request for extradition relating to a person si Who has been convicted of
the offense for which extradition is sought also shall include:

(a) acopy of the judgment of conviction; or, if'a copy is not
available, a statement by a judicial authority that the person has
been convicted;

{b) . information establishing that the person sought is the person to
whom the finding of guilt refers; 1

(©) acopy of the sentence iinposed, if the person sought has been
sentenced, and a statement establishing to what extent the -

_sentence has been carried out; and .

() imthecaseofa person who has been convicted in absentia, the

documents required by paragraph 3. °

5. ‘The Requested State may require the Requesting State to furnish
additional information within such reasonable length of time as it specifies, if it
considers that the information famished in support of the request for extradition is not
sufficient to fulfill the requirements of this Article, Such supplementary information
. nay be requested and furnished directly between the United States Department of
Justice and the waa of Justice of the Republic of Estonia,

6. Where the Requesting State contemplates the submission of particularly
sensitive information i in support ofits request for extredition, it may consult the
Requested State to determine the extent to which {he information can be protected by
the Requested State. Ifthe Requested State cannot protect the information in the
manner sought by the Requesting State, the Requesting State shall.determine whether
the information shall nonetheless be sobmitted.

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Asticle 9
Admissibility of Documents

Documents that bear the certificate or seal of the Ministry of Justice, or the
Ministry or Departinent respotisible for foreign affairs, of the Requesting State shall be
admissible in extradition proceedings in the Requested State without further
certification, scthentication, or other legalizuiion. “Ministry of Justice” ehall, for the
United States of America, mean the United States Department of Justice; and, for the
Republic of Estonia, the Ministry of Justice of the Republic of Estonia.

* Article 10
Translation

All documents submitted by the Requesting State shall be accompanied by a
translation into the language of the Requested State.

Acticle 11
Provisional Arrest

1, . Incase of urgency, the Requesting State may request the provisional
aurest of the person sought pending presentation of the request for extradition. A

- request for provisional arrest may be transmitted through the diplothatic channel or

directly between the United States Department of Justice and the Ministry of Justice of
the Republio of Estonia. “The facilities of the Intemational Criminal Police
Organization (Interpol) also may be used to transmit such a request.

2, - The application for provisional arrest shalll contain:
@ a description of the person sought;
(>) the location of the person sought, if known;
(©) brief statement of the facts of the case, including, if possible,
the time and location of the offense;
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(©) a description of the law(s) violated;

(e) a statement of the existence of a warrant of arrest or a finding of
guilt or judgment of conviction against the person sought; and

( ° astatement that the documents supporting the extradition request
for the person sought will follow within the time specified in this
Treaty. :

35 The Requesting State shall be notified without delay of the disposition of
its request for provisional arrest and the reasons for any inability to proceed with the

tequest.

4. A person who is provisionally aurested may be discharged from custody

upon the expiration of sixty-(60) days from the date of provisional arrest piirsuant to this

Treaty ifthe executive-authority of the Requested State has not received the request for
extradition required in Article 8. For this purpose, receipt of the request for extradition
by the Embassy of the Requested State in the Requesting State, by the date specified in
this paragraph, shall constitute receipt by the executive authority of the Requested State.

5. The fact that the person sought has been discharged ffom custody
pursuant to paragiaph 4 of this Article shall not prejudice the subsequent rearrest and
extradition of thet person if the extradition request and supporting documents ére
delivered at a leter date, .

Article 12
Decision and Surrender

1. _ The Requested State shall promptly notify thé Requesting State of its
decision on the request for extradition.

2. If the request is deniéd in whole or in part, the Requested State shall

provide ah explanation of the reasons for the denial, The Requested State shall provide -

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copies of pertinent judicial decisions upon request.

3. Ifthe request for extradition is granted, the authorities of the Requesting
and Requested. States shall agree on the time and place for the surrender of the person
sought,

4. Ifthe person sought is not removed from the territory of the Requested
State by the Requesting State within the time period prescribed by the law of that State,
that person may be discharged from custody, and the Requested State, in its discretion,
may subsequently refisse extradition for the same offense.

Article 13
Temporary and Deferred Surrender

ds If the extradition request is granted in the case of a person who is being’
proceeded against or is serving a sentence in the Requested State, the Requested State

"may temporarily surrender the person sought to the Requesting State for the purpose of

prosecution. The person so surrendered shall be kept in custody in the Requesting State
and shall be retuned to the Requested State after the conclusion of the proceedings

- against that person, in accordance with conditions to be determined by, nmutual

agreement of the Requesting and Requested States.

2. The Requested State may postpone the extradition proceedings against,a
person who is being prosecuted or who is serving a sentence in that State. The
postponement may continue until the prosecution of the person sought hrs been
concluded or unti! such person bas served any sentence imposed.

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Article 14
Requests for Extradition Made by Several States

1. the Requested State receives tequests from the Requesting State and
from any other State or States for the extradition of the same person, cither for the same
offense or for different offenses, the executive authority of the Requested State shall li
determine to which State, if. any, it will surrender the person.

2. Ifthe Republic of Estonia receives an extradition request from the United
States of America and a request for surrender pursuant to the European arrest warrant
_for the same person, either for the same offense or for different offenses, its executive
authority shall determine to which State, if any, it will surrender the person.

ai 3. For purposes of clarity, ths Parties confirm that this rere also shall
apply where the Republic of Estonia receives an extradition request fiom the United
States of America, from a third State and a request for surrender pursuant to the
European arrest warrant. .

© 4. in making its decision under paragraphs 1-3 of this Article, the
| Requested State shall consider afl relevant factors, including but not limited to, thé
following: :
. (@) © Whether the requests were made pursuant to a treaty,
(by . the places where each of the offenses was committed;
‘(c) the respective interests of the Requesting States;

() the gravity of the offenses:.

(©) the niatioriality of thé victim; .
: () the possibility of any subsequent extradition between the
| : Requesting States; and .
(g) the chronological order in which the requests were received from

the Requesting States,
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’ Article 15
Seizure and Surrender of Property

ds To the extent permitted imder its lex the Requested State may seize and
surrender to the Requesting State all items, including articles, documents, and evidence,
that are connected with the offense in respect of which extradition is granted. The items
mentioned in this Article may be surrendered even when the extradition cannot be
effected due to the death, disappearance, or escape of the person sought and prior to the
extradition, if requested pursuant to the mutual Jegal assistance treaty between the
Parties,

2: The Requested State may condition the surrender of the items upon
satisfactory assurances from the Requésting State that the property will be retumed to
4] the Requested State as soon as practicable. The Requested State may also defer the
surrender of such items if they are needed as evidence in the Requested State.

3. The rights of third parties in such items shall be duly respected in
atcordante with the laws of the Requested State,

Article 16
Rule of Speciality

at A person extradited under this Treaty may not be detained, tried, or
punished in the Requesting State except for:

(2) any offensé for which extradition was prantéd, ora differently i
denominated offense based on the same facts as the offense for {
which extradition was granted, provided suth offense is
extraditable, or is @ lesser included offense: |

. 0) any offense committed after the extradition of the person: or
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any offense for which the executive authority of the Requested

State consents to the person's detention, trial, or punishment, For

the purpose of this subparagraph:

@) the Requested State may require the submission of the

_. documentation called for in Article 8; and

(i) the person extradited may be detained by the Requesting
State for 90 days, or for such longer period of tithe as the
Requested State may anthorize, while the request is being
processed.

2. A person extradited under this Treaty may not be extradited to a third
State or extradited or sirrendered to an international tribunal for any offense cotmitted.
prior to extradition unless the Requested State consents,

3. Paragraphs | and 2 of this Article shall not prevent the detention, tial, or
‘ponishment of an extradited person, or the extradition of that person to a third State, if:
(a) that person leaves the territory of the Requesting State after
extradition and voluntarily retums to it; or
(©) __ that person does not leave the territory of the Requesting State
within 10 days of the day on which that person is free to leave.

Article 17
Consent to Waiver of Extradition Proceedings

if the person sought consents to be surrendered to the Requesting State, and does’

so in writing, the Requested State may surrender the person as expeditiously as possible.

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Article 18
Transit

1. Either State may authorize transportation through its territory of a person
i surrendered to the other State by a third State. A request for transit shall’ be transmitted
through the diplomatic channel or directly between the United States Department of
Justice and the Ministry of Justice of the Republis of Estonia. The facilities of the
International Criminal Police Organization (Interpol) may also be used to transmit such
arequest to the above-mentioned authorities. The request for transit shall contain a
description of the person being transported end a brief statement of the facts of the case.
A person in transit may be detained in custody during the period of transit.

2. Authorization is not required when air transportation is used by one State
and ho landing is scheduled on the territory of the other State. If an unscheduled
landing does occur, the State in-which the unscheduled Janding occurs may require a
request for transit pursuant to paragraph 1, and it may detain the person until the request
for transit is received and the transit is effected, as long as the request is received within _
48 hours of the unscheduled landing, :

Article 19
Repression and Expenses

i, The Requested State shall advise, . assist, appear in court on behalf of, and
represent the interests of the Requesting State i in any proceedings arising out of a request
for extradition. :

2. The Requesting State shall pay all the expenses ielated to the translation.
of extradition documents and the transportation of the person surendéred, The
Requested State shal! pay all other expenses incurred in that State i in comection with the

extradition proceedings.
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3. Neither State shall make any pecuniary claim against the other State
arising out of the arrest, detention, examination, or surrender of persons under this
Treaty,

Article 20
Consultation

1, ‘The United States Department of Justice and the Ministry of Justice of
the Republic of Estonia may consult with each other in connection with the processing
of individual cases and in furtherance of efficient implementation of this Treaty.

2. Where the Requesting State contemplates the submission of pactivulely
, sensitive information in support ofa request for extradition, it may consult the
Requested State to determine the extent to which the information can be protected by
‘the Requested State, Ifthe Requested State cannot protect the information in the
manner sought by the Requesting State, the Requesting State shall determine whether
the information shall nonetheless be submitted.

Asticle 21
Application

- This Treaty shall apply to offenses comunitted ramet on, as well as after the
Gate it enters into force,

Article 22
Ratification, Entry into Foreé, and Termination

s This Treaty shall be subject to ratification; thei instruments ofratfietion
shall be exchanged as soon as possible,

2 This ‘Treaty shall enter into force upon the exchange of the instruments of
ratification.
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3. Upon the entry into forse of this Treaty, the Treaty of Extradition

between the United States of America and the Republic of Estonia, signed at Tallinn on
November 8, 1923, and the Supplementary Extradition Treaty signed at Washington on
October 10, 1934, shall céase to have any effect. Nevertheless, the prior Treaties shall
apply to any extradition proceedings in which the extradition documents have already
been submitted to the courts of the Requested State at the time this Treaty enters into
force, except that Article 17 of this Treaty shall be applicable to such proceedings, and

Article 16 of this Treaty shall apply to persons found extraditable under the prior Treaty-

4 With respect to any extradition proceedings in which the request for
extradition was received by the Requested State but not submitted to its courts before

_ the entry into force of this Treaty, the Requestiig State, after entry into force of this

Treaty, may amend or supplement the request for extradition as necessary in order for it
to be submitted to the courts of the Requested State under this Treaty.

5. Either State may tenninate this Treaty at any time by giving written
notice to the other State through the diplomatic channel; and the termination shall be

effective six months after the date of receipt of such notice.

IN WITNESS WHEREOF, the ee being duty authorized by their
respective Goyernments, have signed this Treaty.

DONE at Tallinn, in duplicate, this’ day of February, 2006, in the English
and Estonian languages, both texts being equally authentic,

FOR THE GOVERNMENT OF THE FOR THE GOVERNMENT OF THE

y UC... OF _ REPUBLIC OF ESTONIA:
- ° VU

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U.S. Department of Justice
Criminal Division

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Washington D.C. 20530, a
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“Mele 13.03.2013" a Se

Eesti Vabariigi kodaniku. Aleksandr Rotko | be ode ‘ aler : “RW ea Vial
Ss , intents Ch tay

| Neate asja_omanikule, ‘Eesti’ 'Vabariigile
Vabanigi keristusseadustt cs 203 ea

 

  

Sea Minister,

Lisa: 65 lehel:

Astrid Laurendt-Hanioja
Astrid. Laurendt@just.ee

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U.S. Department of Justice 13.03,2013  Ourref. 12-1/13-2063-2

(minal Division: .
mics of International Affairs
4301 New York Avenue, NW

g'" floor
Washington D.C. 20530

USA ‘i

Request for extradition of a citizen of the
Republic of Estonia Aleksandr Rotko

‘Ministry of Justice of Estonia based on the extradition treaty between the Government of the Republic of
Estonia and the Government of United States of America, signed 08.02.2006, hereby presens the request
for extradition of Estonian citizen Aleksandr Rotko (born 27.02.1949, ID 34902270228).

The Northern District Prosecutor's Office requests the extradition of Aleksandr Rotko for the continuation
of criminal proceedings in the criminal case No 06730000427.

The requested person Aleksandr Rotko is suspected of using a movable of another in his possession for
his own benefit and for the benefit of a third person committed by a group of persons, that is a criminal
offense which is classified pursuant to the Estonian Penal Code § 201, 2 (4) and of damaging and
destroying of a thing of another, by which he has caused to the owner of the thing, the Republic of
Estonia, significant damage, which is a criminal offense which is classified pursuant to the Estonian Penal
Code § 203.

On 25.08.2007, Harju County Court issued a Ruling No 06730000427 to arrest the fugitive suspect
Aleksandr Rotko. According to the police information the current location of A. Rotko — the United States
of America, West Virginia State, Huntington.

Taking into account the aforementioned facts, we request the extradition of Estonian citizen Aleksandr
Rotko (born 27.02.1949).

    
  

Yours sincerely

CC 00eer¥

\} Hanno Pevkur
Minister

Encl: on 65 pages

Astrid Laurendt-Hanioja
| Astrid.Laurendt@just.ee

 

{ Ju - ., / EXT-ROTKO-000035 — Tgnismagi 6A, 15191 Tallinn, ESTONIA a-mall: Info@jusi.ca
i Stiitsministeeriiim oS Reg. no. 70000898 2 www Just:ee
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POHJA RINGKONNAPROKURATUUR

   

 

Ameerika Uhendriikide padev digusasutus

Isiku valjaandmistaotlus 30.01.2013 nr. PRP- 6/12/7720 '
Eesti Vabariigi Prokuratuurilt

Tuginedes Eesti Vabariigi valitsuse ja Ameerika Uhendriikide valitsuse vahelisele
valjaandmislepingule, alla kirjutatud 08.02.2006, esitame Teile viljaandmistaotluse,
millega palume Ameerika Uhendriikidel anda vilja Eesti Vabariigile Aleksandr
Rotko (isikukood 34902270228, siindinud 27.02.1949 Ukrainas),

Valjaandmistaotluse esitab P6hja Ringkonnaprokuratuur.

Tagaotsitavat Aleksander Rotko’d kahtlustatakse isikute grupi poolt toime pandud
enda valduses oleva vGdra vallasasja enda ja kolmanda isiku kasuks pééramises, s.o
kuriteos; mis on kvalifitseeritay Eesti Vabariigi karistusseadustiku § 201 lg 2 p 4
jirgi ning vOdra asja rikkumises ja havitamises, millega on tekitatud asja omanikule,
Eesti Vabariigile, olulist kahju, s.o. kuriteos, mis on kvalifitseeritav Eesti Vabariigi
karistusseadustiku § 203 jargi.

  

Pohja ringkonhaprokura Ru vanentpfokurér
Maria Entsik= 2

 

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ni ere

 

 

 

 

 

POHJA RINGKONNAPROKURATUUR

Aleksandr Rotko valjaandmistaotlus 30.01.2013 nr. PRP- 6/12/7720

I SISSEJUHATUS

Mina, Maria Entsik, olen Eesti Vabariigi kodanik ja olen olnud alates 11.09.200
prokurér Eesti Vabariigis. Minu ametiiilesanneteks on juhtida kohtueelset
kriminaalmenetlust, tagades selle seaduslikkuse ja tulemuslikkuse, ning esindada
kohtus riiklikku stiiidistust isikute vastu, kes on toime pannud kuriteo Eesti Vabariigi
seaduste kohaselt.

Vanemprokurérina oma tédétilesannetega seoses olen ma tutvunud kriminaalasja or
06730000427 materjalidega, mille raames on kogutud tdendid ja milles kahtlustatakse
Aleksandr Rotko’d (isikukood 34902270228) koos Olga Kotova’ga (isikukood
47711285211) selles, et nemad rikkusid ja havitasid tahtlikult Eesti Vabariigi omandis
olevaid chitisi ja rajatisi Tallinnas Kiiti 17 ja 17a territooriumil, millega tekitasid Eesti
Vabariigile olulist varalist kahju summas 1988 260 EEK-i. Kriminaalasi on
kohtueelse menetluse staadiumis. Aleksandr Rotko on asunud kriminaalmenetlusest
kérvale hoidma ja lahkunud Eesti Vabariigist.

Vastavalt KrMS § 457 lg 3 koostab vilisriigile esitatava taotluse isik valja anda
kohtueelses menetluses prokuratuur.

K4esoley valjaandmistaotlus on koostatud esitatud Ameerika Uhendriikidele palvega
anda vilja Eesti Vabariigile kahtlustatav Aleksandr Rotko eesmirgiga esitada talle
stitidistus Eesti Vabariigi karistusseadustiku § 201 lg 2 p 4 ja § 203 jargi ning saata
Aleksandr Rotko kohtu alla vastust kandma tema poolt toime pandud kuritegude eest.

If ASJAOLUDE KIRJELDUS

Kriminaalmenetlust kdesolevas asjas alustati 22.09.2006 alljargnevate asjaolude
pinnal.

14.11.1997 esitas Eesti Vabariik Justiitsministeeriumi kaudu Tallinna Linnakohtule
hagi OU B ja E, AS Verest ja OU Agrin Partion vastu ndudega tunnistada Eesti .
Vabariigi omandidigust Tallinnas, Kiiti 17 ja Kuti 17a (Lennusadama territoorium APR eR
asuvatele ehitistele ja nduda need viilja kostjate ebaseaduslikust valdusest (endifigo™ _-= "Bs
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Noéukogude Armee valduses olnud vara).
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14.02.2005 esitas Eesti Vabariik hagiavalduse taienduse ja palus tunnustada Eesti
Vabariigi omandidigust ka Tallinnas, Kiiti 17 ja Kiiti 17a asuvale maattikile ja méista
gee Vilja kostjate ebaseaduslikust valdusest.

09.03.2005 esitas Eesti Vabariik Tallinna Linnakohtule taotluse AS BPV ja ELA Tolli
AS kaasamiseks kostjatena ning taiendas hagiavalduse n6udeid eelviidatud néuetega
AS BPV ja ELA Tolli AS vastu.

 

AS Verest, OU Agrin Partion, ELA Tolli AS ja AS BPV asusid kdik kuriteo
toimepanemise perioodil (2006.a juuli) adressil Kuti 17, Tallinn ning nende
juhtorganitesse kuulusid noukogu ja juhatuse liikmetena ‘Aleksandr Rotko ja Olga
Kotova. Seda kinnitavad driregistri valjatriikid nimetatud 4ritihingute kohta.

04.07.2005 tegi Tallinna Linnakohus otsuse, millega rahuldas Eesti Vabariigi hagi OU
B ja E, AS Verest, OU Agrin Partion ja ELA Tolli AS vastu, kuid jattis rahuldamata
Eesti Vabariigi hagi AS BPV vastu. 01.03.2006 tegi Tallinna Ringkonnakohus otsuse,
millega rahuldas Eesti Vabariigi apellatsioonkaebuse ja rahuldas Eesti Vabariigi hagi
ka tdiendavalt AS BPV vastu. 07.06.2006 keeldus Riigikohus andmast kostjate
kassatsioonidele menetlusluba ja Tallinna Ringkonnakohtu 01.03.2006 kohtuotsus

joustus.
Kohtutditur maaras kostjatele vabatahtliku taitmise tahtajaks 31.07.2006.

17.07.2006 kdisid Justiitsministeeriumi esindajad naaberkinnistult olukorda
vaatlemas, mille tulemusel esitati 19.07.2006 tdiendav sissendudja avaldus, kus
sissendudja avaldab tiiturile, et ebaseaduslikud valdajad (sh AS BPV) on asunud
tileandmisele kuuluvatest ehitistest eraldama nende olulisi osi, mis kuuluvad ehitiste
ja kinnisasja koosseisus Eesti Vabariigile tileandmisele. Nii on asutud eraldama kai
betoonist katteplaate ja tehtud muid lammutustéid. Nimetatud tahelepanekuid on
teinud naaberkinnisasjal tegutseva Meremuuseumi esindaja Tiit Einberg. 27.07.2006
tegi Harju Maakohus maaruse kohtutiituri taotluse kohta viibida Kiiti 17 ja Kuiti 17a
territooriumil ja ehitistes ning sissendudja kulul mehitatud valve sisseseadmiseks.
) Nimetatud mdaruse alusel sisenes 28.07.2006 kohtutiaitur koos Justiitsministeeriumi
esindajatega Lennusadama territooriumile ja tutvus Lennusadama vara olukorraga.
Taitur tuvastas Lennusadamast mitmesuguse vara léhkumise ja draviimise, mis on
fikseeritud vastavas protokollis,

 

01.08.2006 toimunud tditetoimingu tulemusena vOttis Eesti Vabariik Kiiti 17 ja Kiiti
17a asuvad ehitised ja territooriumi oma valdusse.

 

Léhutud ja dra viidud esemetega Eesti Vabariigile tekitatud varaline kahju esialgse
kuriteoteate kohaselt seisnes jargnevas:

1) Kai katteplaatide eemaldamine 1 680 000 krooni
2) Raudteerelsside eemaldamine 156 060 krooni
3) Katlamaja hoone kahjustamine ja katelde eemaldamine 12 500 krooni
4) Puidutédstushoonest katelde eemaldamine 25 000 krooni
5) Administratiivhoone vee-, sooja- ja
elektrivarustuse katkestamine 54 300 krooni 54 300 krooni
6) Vesilennukite angaari kupli avade luukide eemaldamine 20 000 krooni & fox
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Samuti kahtlustatakse Aleksandr Rotko’d Kars 201 lg 2 p 4 jargi kvalifitseeritava
kuriteo toimepanemises. Nimelt tema, olles OU Agrin Partion, AS Verest, AS BPV
noukogu liige ja Ela Tolli AS juhatuse liige, lihiselt ja koosk6lastatult Olga Kotova‘ga
kes on OU Agrin Partion, AS Verest, AS BPV juhatuse liige ning Ela Tolli AS
noukogu liige, teostasid alates 2000.a aastast kuni 01.08.2006 ebaseaduslikku valdust
festi Vabariigile kuuluval territooriumil Kiiti 17 ja 17a Tallinn. Ajavahemikul
07.06.2006 kuni 01.08.2006 eemaldati Aleksandr Rotko korraldusel ja Olga Kotova
teadmisel ebaseaduslikult, st ilma omaniku Eesti Vabariigi  esindaja
Justiitsministeeriumi loata, Ktiti 17 ja 17a, Tallinn asuvalt territooriumilt Eesti
Vabariigile kuulunud raudteerelsid kokku kaaluga 66,6‘ tonni. Olga Kotova ja
Aleksandr Rotko miitisid 26.07.2006a ebaseaduslikult eemaldatud relsid AS BPV
nimelt AS Kuusakoskile summas 204 328,8 krooni, millega pédérasid nende
ebaseaduslikus valduses oleva védra vallasasja, s.o Eesti Vabariigile kuulunud
raudteerelsid, ebaseaduslikult kolmanda isiku kasuks. Raudtee relsside miitigist sai AS
BPV tulu 204 328,8 krooni.

Samuti kahtlustatakse Aleksandr Rotko’d KarS 201 lg 2 p 4 jirgi kvalifitseeritava
kuriteo toimepanemises, mis seisnes selles, et tema, olles OU Agrin Partion, AS
Verest, AS BPV néukogu liige ja Ela Tolli AS juhatuse liige, tthiselt ja
koosk6lastatult Olga Kotova’ga kes on OU Agrin Partion, AS Verest, AS BPV
juhatuse liige ning Ela Tolli AS néukogu liige, korraldasid ajavahemikul 07.06.2006.a
kuni 01.08.2006.a ebaseaduslikult, st ilma omaniku Eesti Vabariigi esindaja
Justiitsministeeriumi loata, territooriumilt: Tallinn, Kiiti 17 ja 17a, mille tile teostasid
alates aastast 2000 kuni 01.08.2006.a ebaseaduslikku valdust, katlamajast katla
(kaaluga kuni 6,4 tonni ning maksumusega vahemalt 13 120 krooni) eemaldamise ja
omastasid selle, toimetades selle territooriumilt minema ning omaniku kasutus- ja
kasutusalast valja.

Eelkirjeldatud tegevusega tekitasid Olga Kotova ja Aleksandr Rotko Eesti Vabariigile
varalise kahju kokku summas 217 448 krooni.

Seega on Aleksandr Rotko grupi poolt toime pannud enda valduses oleva védra
vallasasja enda ja kolmanda isiku kasuks pééramised, s.o kuriteod, mis on
kvalifitseeritavad KarS § 201 lg 2p 4 jargi.

Aleksander Rotko asus kriminaalmenetlusest koheselt kérvale hoidma. On tuvastatud,
et A. Rotko véérandas endale kuulunud korteri aadressil Léime 12-7, Tallinn ning
oma Eestis olevas endises elukohas aadressil Kungla 4-44, Rakvere ei ela enam alates
2006.a stigisest. Tunnistaja Olga Novoseltseva andis titlusi, et ta on informeerinud
Aleksander Rotko’d tema suhtes kiéimas olevast kriminaalmenetlusest. Samuti andis
tunnistaja Novoseltseva iitlusi, et Rotko ja Kotova asuvad alates 2006.a siigisest
valjaspool Eesti Vabariiki. Kuna Aleksandr Rotko on kuulutatud tagaotsitavaks, on
tema suhtes avatud ka jalitustoimik mr 0723000349. Selle raames tehtud
jalitustoimingutega on kindlaks tehtud Aleksandr Rotko kéesolev asukoht — Ameerika
Uhendriigid, West Virgina osariik, Huntingtoni linn.

 

 

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95,08.2007.a. valjastas Harju Maakohus méadruse nr 06730000427 vahistada
tagaotsitavaks kuulutatud kahtlustatav Aleksandr Rotko (isikukood 34902270228),
keda kahtlustatakse KarS § 201 Ig 2 p 4 ja § 203 satestatud kuritegude

toimepanemises. Kinnitatud koopia nimetatud dokumendist lisatakse kaéesolevale
taotlusena Lisana 1.

29.08.2007.a. valjastas Péhja Ringkonnaprokuratuur Euroopa vahistamismaaruse
kahtlustatav Aleksandr Rotko suhtes.

Mélemad vahistamisméarused on jéustunud ja kehtivad. \

Kaesolevale taotlusele lisatakse A. Rotko kahtlustust kinnitavate tdenditena
tunnistajate Olga Novoseltseva, Valdo Seiler, Tiit Einberg, Olga Savitskaja, Aleksei
Bassenkov ja Ténu Rinaldi  iilekuulamise protokollid télgituna inglise keelde.
Dokumendid on vormistatud lisana 2.

Ill ASJASSEPUUTUVAD KARISTUSOIGUSLIKUD NORMID

Jargnevalt on 4ra toodud Eesti Vabariigi karistusseadustiku vastavad paragrahvid,
mille jargi on A. Rotko poolt toime pandu kasitletav kuriteona. Mélemad paragrahvid
(KarS § 201 lg 2 p 4 ja § 203) olid kehtivad nii kuritegude toimepanemise ajal kui ka
tinasel pieval.

KarS § 201 lg 2 p 4 sitestab, et valduses oleva véGra vallasasja véi isikule usaldatud
muu vO6ra vara ebaseaduslikult enda vdi kolmanda isiku kasuks pédramise eest, kui
see on toime pandud grupi v6i kuritegeliku tihenduse poolt, —

karistatakse rahalise karistuse v6i kuni viieaastase vangistusega.

KarS § 203 sitestab, et v6dra asja rikkumise vdi havitamise eest, kui sellega on
tekitatud oluline kahju, —
Karistatakse rahalise karistuse voi kuni viieaastase vangistusega.

Kuna KarS § 201 lg 2 p 4 ja § 203 on teise astme kuriteod, on nende aegumistiihtaeg
kriminaalmenetluse seadustiku § 81 Ig 1 p 2 kohaselt 5 aastat kuriteo
toimepanemisest. Vastavalt KrMS § 81 lg 7 p 1 peatub kuriteo aegumine
kahtlustatava kdrvalehoidumisel kohtueelsest menetlusest kuni isiku kinnipidamiseni
V6i tema ilmumiseni menetleja juurde. KrMS § 81 lg 8 siitestab, et sama seaduse § 81
lg 7 p 1 sitestatud juhul ei uuene aegumine, kui kuriteo toimepanemisest on
md6dunud 15 aastat. Kuna antud juhul asus A. Rotko kriminaalmenetlusest kérvale
hoiduma hiljemalt 2006.a detsembrist, mil talle sooviti kutset katte toimetada, on
aegumine sellest hetkest alates peatunud. Rotko’d ei ole Gnnestunud senini kinni
Pidada, samuti ei ole ta vabatahtlikult ilmunud menetleja juurde.

IV TAGAOTSITAVA KIRJELDUS

Lisame taotlusele A. Rotko foto Lisana 3. Foto on vdetud 19.04.2005 ID-ka
Valjastamise eesmargil.

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tagaotsitavat Aleksandr Rotko’d identifitseerivad andmed on jargmised.

Nimi: Aleksandr Rotko

Alias: ei ole teada

siinniaeg: 27.02.1949

Siinnikoht: | Ukraina

Passinumber: viimane Eesti Vabariigis vadljastatud pass nt K2015608 on taénaseks
kehtetu. Kehtis ajavahemikul 25.03.2002 - 25.03.2012.

[D-kaardi nt; Al150472, valja antud 19.04.2005 Eesti Vabariigi poolt. Kehtivusaeg
19.04.2005 - 19.04.2015

Kodakondsus: Eesti Vabariigi kodanik

Emanimi: Olga Rotko (siind 09.07.1924), neiupélvenimi pole teada

Isa nimi: Mihhail Rotko (stind. 21.05.1921)

Emakeel: vene keel

Sugu: meessoost

Rass: europiidne

Juuksevarv: tumedad

Silmavérv: ei ole teada

Pikkus: ei ole teada

Kaal: ei ole teada

Aadress: teadaolevalt Huntingtoni linn, West Virginia osariik, USA

V KOKKUVOTE

Kinnitan, et kdik eeltoodu vastab téele minu parima teadmise kohaselt. Eelkirjeldatut
silmas pidades, palun Eesti Vabariigi nimel valja anda Aleksandr Rotko Eesti
Vabariigile tema suhtes kriminaalmenetluse labiviimiseks, siitidistuse esitamiseks ja
tema kohtu alla andmiseks.

Olen teinud on parima, et esitada toendeid valjaandmistaotluse rahuldamiseks. Juh
kui USA padevad ametiasutused vajavad tiiendavat inforatsiooni taotl

  

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jahendamiseks, kinnitan kogu lugupidamisega, et olen valmis esitama vajalikku

jjsainformatsiooni enne otsuse langetamist.
i ie

 

1) 25.08.2007 Harju Maakohus miairus nr 06730000427 A. Rotko vahistamiseks;

2) Tunnistajate Olga Novoseltseva, Valdo Seiler, Tiit Einberg, Olga Savitskaja,
Aleksei Bassenkov ja T6nu Rinaldi tilekuulamise protokollid télgituna inglisé
keelde;

3) A. Rotko foto.

 

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